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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

GRADUATION SOLUTIONS LLC,                    )
                                             )
       Plaintiff,                            )
                                             )       Case No. 17-cv-1342 (VLB)
v.                                           )
                                             )
ACADIMA, LLC and ALEXANDER                   )
LOUKAIDES,                                   )
                                             )
       Defendants.                           )

                         DEFENDANT LOUKAIDES’ MOTION FOR
                    EXPEDITED HEARING ON MOTIONS FOR ADMISSION
                                   PRO HAC VICE

       Defendant Alexander Loukaides, by and through the undersigned counsel,

respectfully requests that, if the Court is inclined to deny the Motions for Admission Pro

Hac Vice and/or the Motion for Extension of Time filed as ECF Nos. 92, 93, and 94, the

Court schedule an expedited hearing so that the proposed pro hac vice counsel may be

heard fully on the merits of these motions. In support of this motion, Defendant Loukaides

states as follows:

       1.       Defendant Loukaides file the motions referenced above on April 11, 2019.

ECF Nos. 92-94. These motions were filed promptly after finalizing the engagement of

proposed pro hac vice counsel.

       2.       On April 12, 2019, Plaintiff filed its objection in opposition of these motions.

ECF No. 95.

       3.       In its opposition, Plaintiff misrepresents statements made in the Motions for

Admission pro hac vice. Specifically, Plaintiff asserts that the motions inaccurately state

that granting the pro hac motions will not require modification of any existing scheduling
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orders or deadlines. Id. at ¶ 1.

       4.       Both motions clearly state that even if the Court denies the motion for

extension of time, the undersigned counsel, proposed pro hac vice counsel, and

Defendant Loukaides all agree that proposed pro hac vice counsel, if admitted, would act

as lead trial counsel in this matter. ECF Nos. 92 and 93, at p. 1 n.1. However, as noted

in the motion for extension of time, proposed pro hac vice counsel respectfully submitted

that granting the extension would have been in the best interest of justice in this matter.

       5.       Plaintiff is of the apparent belief that because the pro hac motions were filed

contemporaneous with the motion for extension of time, the pro hac motions cannot be

granted unless the motion for extension of time is also granted. But no such argument

has been made by Defendant Loukaides.

       6.       More importantly, the representation that granting the pro hac motions will

not require modification of any scheduling order is accurate.

       7.       Defendant Loukaides and proposed pro hac vice counsel are fully aware

that the relief requested is somewhat extraordinary and, through this motion, only seeks

an opportunity to be fully heard on the issues that are involved.

       WHEREFORE, Defendant Loukaides respectfully requests that the Court set an

expedited hearing on the motions filed at ECF Nos. 92, 93, and 94.



Dated: April 12, 2019                              Respectfully submitted,

                                                   Alex Loukaides

                                                   By: _/s/ Jeffrey S. Bagnell_______
                                                   Jeffrey S. Bagnell, Esq.
                                                   Federal Bar No. CT18983
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                                              Attorney for Defendant
                                              Alexander Loukaides




                                    CERTIFICATION

       This is to certify that on this 12th day of April 2019 a copy of the foregoing

was filed electronically [and served by mail on anyone unable to accept

electronic filing]. Notice of this filing will be sent by e-mail to all parties, as listed

below, by operation of the Court’s electronic filing system [or by mail to anyone

unable to accept electronic filing]. Parties may access this filing through the

Court’s system.




                                                                    __/s/_____________
                                                                       Jeffrey S. Bagnell




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